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                                   STATEMENT OF FACTS
        On or about November 7, 2017, at approximately 2:30 p.m. a robbery occurred at the TD
Bank located at 1753 Connecticut Avenue, Northwest, Washington, DC, an entity whose deposits
are insured by the Federal Deposit Insurance Corporation (FDIC). At approximately 2:30 p.m., a
black male approximately 5’7 to 5’9 and between 150 - 160lbs, later identified as defendant Steven
Davis, entered the TD Bank wearing a dark brown front-zipped hoodie, dark baseball cap, dark
pants, black tennis shoes with white soles, and carrying a tan colored canvas bag.
        Mr. Davis approached the teller window and handed a note to the teller which read, “I have
a bag full of explosives hand over the $ now or die.” Mr. Davis’s intent was to put the victim teller
in fear of imminent harm. In response, the teller gave the suspect approximately $500 in U.S.
currency which was $450 in ten dollar bills and one $50 bill. Mr. Davis then exited the bank and
fled in an unknown direction.
       Immediately after Mr. Davis exited the TD Bank, the victim teller activated the silent alarm
system, triggering a law enforcement response. Additionally, the bank manager called 911. Law
enforcement immediately responded to the scene and obtained a brief description of the suspect
from the victim teller.
        Law enforcement also received surveillance photographs from the bank that showed the
events of the robbery. The surveillance photographs depicted the suspect as a black male,
approximately 5’7 to 5’9, 150 to 160 pounds, dark complexion, wearing a dark brown front-zipped
hoodie, dark baseball cap, dark pants, and black tennis shoes with white soles. The suspect was
additionally carrying a tan canvas bag, brown leather wallet, and was wearing a white latex glove
on his right hand. The victim teller’s description of the suspect was consistent with the weight,
height, and race of the surveillance photographs.
       Based on the initial description by the victim teller and the surveillance still images,
lookout was broadcasted over a Metropolitan Police Department (“MPD”) radio channel.
         Several MPD officers canvassed the DuPont Circle Subway station located 1525 20th
Street, NW, Washington, D.C. Once on the lower level of the subway station, law enforcement
saw a suspect who fit the description of the flash lookout. The suspect was identified as Steven
Davis. One of the MPD Officers on scene, responded to the bank to get a surveillance photograph
of the suspect from inside of the bank. An officer stayed with the suspect at DuPont Subway
Station. The officer returned to the subway station and determined that Steven Davis’s physical
appearance and clothing was consistent with the weight, height, and race of the surveillance
photographs. Furthermore, Steven Davis was dressed in a front zipped brown hooded jacket, black
baseball cap, dark colored pants, and black Nike tennis shoes with white trim, again consistent
with the surveillance photographs from the bank. Davis also had one used white latex glove in his
left front jacket pocket and a second glove in a tan canvas bag. Officers recovered a brown leather
wallet from Mr. Davis and discovered one $50 bill and $440 in ten-dollar bills inside of his tan
canvas bag. The denominations of the currency matches that as the currency handed to the suspect
by the victim teller. Only one ten dollar bill was missing from the original $500 provided by the
victim teller.
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        Another bank employee, referred to as W-2, was inside the bank when the robbery
occurred. W-2 indicated that the suspect had a small, slim face and facial hair on his face. At
approximately, 4:13 p.m., on November 7, 2017, W-2 was taken to the north corner of DuPont
Circle Subway Station at the corner of 20th and Q Street, NW, Washington, DC to conduct a show-
up. W-2 was shown Steven Davis and stated, it was not the individual that robbed the bank.
        Notwithstanding the descriptions, surveillance photographs show the suspect receiving
money and then leaving the bank. During a subsequent interview, defendant Davis identified
himself as the individual in the surveillance photos who robbed the bank, and he admitted going
to the DuPont Subway Station where law enforcement stopped him.
        The defendant was placed under arrest. During the interview, defendant Davis confessed
to robbing the TD Bank located at 1753 Connecticut Avenue, NW, Washington, DC. Davis stated
that he went to the bank and pulled out a note from his wallet and gave it to the teller and the teller
gave an undetermined amount of money. Defendant Davis also stated that he walked out of the
bank and went to DuPont Circle Subway where law enforcement stopped him.
       Defendant Davis viewed the surveillance photographs, and he verbally indicated that he
was the person depicted in the pictures.


                                               ________________________________________
                                               SPECIAL AGENT RILEY PALMERTREE
                                               FEDERAL BUREAU INVESTIGATION


SWORN AND SUBSCRIBED BEFORE ME ON THE _____ DAY OF OCTOBER, 2017.


                                               ___________________________________
                                               G. MICHAEL HARVEY
                                               UNITED STATES MAGISTRATE JUDGE  




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